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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA


 JULIE DERMANSKY,

                                Plaintiff,                      Docket No. 2:20-cv-2825

        - against -                                             JURY TRIAL DEMANDED

 HISPANIC MEDIA, LLC

                                Defendant.


                                          COMPLAINT

       Plaintiff Julie Dermansky (“Dermansky” or “Plaintiff”) by and through her undersigned

counsel, as and for her Complaint against Defendant Hispanic Media, LLC (“Hispanic Media” or

“Defendant”) hereby alleges as follows:

                                 NATURE OF THE ACTION

       1.      This is an action for copyright infringement under Section 501 of the Copyright

Act. This action arises out of Defendant’s unauthorized reproduction and public display of a

copyrighted photograph of a Donald Trump Rally, owned and registered by Dermansky, a

professional photographer. Accordingly, Dermansky seeks monetary relief under the Copyright

Act of the United States, as amended, 17 U.S.C. § 101 et seq.

                                JURISDICTION AND VENUE

       2.      This claim arises under the Copyright Act, 17 U.S.C. § 101 et seq., and this Court

has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      This Court has personal jurisdiction over Defendant because Defendant transacts

business in Pennsylvania.

       4.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b).
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                                             PARTIES

       5.      Dermansky is a professional photographer in the business of licensing her

photographs to print and online media for a fee having a usual place of business at 2357 Cours

Carson Street, Mandeville, LA 70448.

       6.      Upon information and belief, Hispanic Media is a limited liability company duly

organized and existing under the laws of the State of Pennsylvania, with a place of business at

198 W. Chew Avenue, Philadelphia, PA 19120. Upon information and belief, Hispanic Media is

registered with the Pennsylvania Department of State to do business in Pennsylvania. At all

times material, hereto, Hispanic Media has owned and operated a website at the URL:

www.ElSolNewsMedia.com (the “Website”)

                                    STATEMENT OF FACTS

       A.      Background and Plaintiff’s Ownership of the Photograph

       7.      Dermansky photographed a Donald Trump Rally (the “Photograph”). A true and

correct copy of the Photograph is attached hereto as Exhibit A.

       8.      Dermansky is the author of the Photograph and has at all times been the sole

owner of all right, title and interest in and to the Photograph, including the copyright thereto.

       9.      The Photograph was registered with the United States Copyright Office and was

given registration number VA 2-000-285.

       B.      Defendant’s Infringing Activities

       10.     Hispanic Media ran an article on the Website entitled John N. Mitchell: Recent

events say less about Trump and more about the U.S. See: https://elsolnewsmedia.com/john-n-

mitchell-recent-events-say-less-about-trump-and-more-about-the-u-s/. A true and correct copy of
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the Photograph on the Website and a screenshot of the Photograph on the Website are attached

hereto as Exhibit B.

          11.   Hispanic Media did not license the Photograph from Plaintiff for its article, nor

did Hispanic Media have Plaintiff’s permission or consent to publish the Photograph on its

Website.

                               CLAIM FOR RELIEF
                    (COPYRIGHT INFRINGEMENT AGAINST DEFENDANT)
                               (17 U.S.C. §§ 106, 501)

          12.   Plaintiff incorporates by reference each and every allegation contained in

Paragraphs 1-11 above.

          13.   Hispanic Media infringed Plaintiff’s copyright in the Photograph by reproducing

and publicly displaying the Photograph on the Website. Hispanic Media is not, and has never

been, licensed or otherwise authorized to reproduce, publically display, distribute and/or use the

Photograph.

          14.   The acts of Defendant complained of herein constitute infringement of Plaintiff’s

copyright and exclusive rights under copyright in violation of Sections 106 and 501 of the

Copyright Act, 17 U.S.C. §§ 106 and 501.

          15.   Upon information and belief, the foregoing acts of infringement by Defendant

have been willful, intentional, and purposeful, in disregard of and indifference to Plaintiff’s

rights.

          16.   As a direct and proximate cause of the infringement by the Defendant of

Plaintiff’s copyright and exclusive rights under copyright, Plaintiff is entitled to damages and

Defendant’s profits pursuant to 17 U.S.C. § 504(b) for the infringement.
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       17.     Alternatively, Plaintiff is entitled to statutory damages up to $150,000 per work

infringed for Defendant’s willful infringement of the Photographs, pursuant to 17 U.S.C.

§ 504(c).

       18.     Plaintiff further is entitled to her attorney’s fees and full costs pursuant to

17 U.S.C. § 505.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests judgment as follows:

       1.      That Defendant Hispanic Media be adjudged to have infringed upon Plaintiff’s

               copyrights in the Photograph in violation of 17 U.S.C §§ 106 and 501;

       2.      That Plaintiff be awarded either: a) Plaintiff’s actual damages and Defendants

               profits, gains or advantages of any kind attributable to Defendants infringement of

               Plaintiff’s Photograph; or b) alternatively, statutory damages of up to $150,000

               per copyrighted work infringed pursuant to 17 U.S.C. § 504;

       3.      That Defendant be required to account for all profits, income, receipts, or other

               benefits derived by Defendant as a result of its unlawful conduct;

       4.      That Plaintiff be awarded his costs, expenses and attorneys’ fees pursuant to 17

               U.S.C. § 505;

       5.      That Plaintiff be awarded pre-judgment interest; and

       6.      Such other and further relief as the Court may deem just and proper.


                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues so triable in accordance with Federal

Rule of Civil Procedure 38(b).

Dated: Valley Stream, New York
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June 14, 2020
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